                                                         2:21-cr-20014-CSB-EIL # 15                                    Page 1 of 13
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                                                                                                                             Monday, 12 April, 2021 02:49:43 PM
                                                                          DATE BOND EXECUTED (Must nof be later than bidbpening
                                BID BOND                                  date)                                                 0MBClerk, U.S.Number:
                                                                                                                                    Control    District 9000-0045
                                                                                                                                                        Court, ILCD
                    (See instructions on reverse)                                             April 6, 2021                                    Expiration Date: 8/31/2022
  Paperwork Reduction Act Statement- This lnfonnation collection meets the reqyirements of44 USC§ 3507, as amended by section 2 ofthe PaperworkReduction Act of
  1995. You do not need to answer these questions unless we display a valid Office of Management and Budget (0MB) control number. The 0MB control number for this collection is
  9000-0045. We estimate that it will take 1 hour to read the instructions, gather the facts, and answer the questions. Send only comments relating to our time estimate, including
  suggestions for reducing this burden, or any other aspects of this collection of infonnation to: General Services Administration, Regulatory Secretariat Division (M1V1CB), 1800 F Street,
  NW, Was!'Hpgtop, QC 20405.
 PRINCIPAL (Legal name and business address)                                                                                  TYPE OF ORGANIZATION ("X" one)

  OSIRIS AKHIR -97075                                                                                                         (8JINDIVIDUAL          •    PARTNERSHIP         •   JOINT VENTURE

  2310 East Mound Road- TROD 5B-O3-MACON COUNTY JAIL                                                                          OcoRPORATION OoTHER (Specify)

  Decatur, Illinois 62524                                                                                                    STATE Of'INCORPORATION
                                                                                                                              Illinois / 112-94 615641
  SURETY(IES) (Name and business address)

   DEPOSITORY TRUST CQMPANY C/O QSIRIS AKHIR
   55 WATER STREET
   NEW YORK CITY, NEW YORK 10041-0099

                               PENAL SUM OF BOND                                                                                 BID IDENTIFICATION
 PERCENT                          AMOUNT NOTTO EXCEED                             BIO DATE                                INVITATION NUMBER
 OFBID
                   MILLION(S)     THOUSAND(S)       HUNDRED(S)         CENTS                    03/24/2021                                          21MJ3035
 PRICE
                                                                                  FOR (Construction, Supplies or
                                                                                  Services)

 OBLIGATION:

 We, the Principal and Surety(ies) are firmly bound to the United States of America (hereinafter called the Government) in the above penal sum. For payment of the penal sum, we bind
 ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the Sureties are corporations acting as co-sureties, we, the Sureties, bind
 ourselves in such sum "joinUy and severally" as well as "severally" only for the purpose of allowing a jointaction or actions against any or all of us. For all other purposes, each Surety
 binds itself, jointly and severally with the Principal, for the payment of the sum shown opposite the name of the Surety. If no limit of liability is indicated, the limit of liability is the .fulf
 amount of the penal sum.

 CONDITIONS:

 The Principal has subrnittedthebid identified above.

 THEREFORE:

 The above obligation is void if the Principal - (a) upon acceptance by the Government of the bid identified above, within the period specified therein for acceptance (sixty (60) days if no
 period is specified), executes the further contractual documents and gives the bond(s) required by the tenns of the bill as accepted within the time specified (ten (10) days if no period is
 specified) after receipt of the fonns by the principal; or (b) in the event offaffure to execute such further contractual documents and give such bonds, pays the Government for any cost
 of procuring the work which exceeds the amount of the bid.

 Each Surety executing this instrument agrees that its obligation is not impaired by any extension(s) of the time for acceptance of the bid that the Principal may grant to the Government.
 Notice to the surety(ies) of extension(s) is waived. However, waiver of the notice applies only to extensions aggregating not more than sixty (60) calendar days in addition to the period
 originally allowed for acceptance of the bid.

 WlTNESS:

 The Principal and Surety(ies) executed this bid bond and affixed their seals on the above date.

                                                                                           PRINCIPAL


 SIGNATURE(S)
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                                                                                 INDMDUAL SURETY(IES)
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AUTHORIZED FORLOCAL REPRODUCTION                                                                                                            STANDARD FORM 24 (REV. 8/2016)
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                                                  2:21-cr-20014-CSB-EIL # 15                           Page 2 of 13

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                                                                           INSTRUCTIONS

1. This form is authorized for use when a bid guaranty is required. Any deviation from this form will require the written approval of the Administrator of General
Services.

2. Insert the full legal name and business address of the Principal in the space designated "Principal" on the face of the form. An authorized person shall sign the
bond. Any person signing in a representative capacity (e.g., an attorney-in-fact) must furnish evidence of authority if that representative is not a member of the
firm, partnership, or joint venture, or an officer of the corporation involved.

3. The bond may express penal sum as a percentage of the bid price. In these cases, the bond may state a maximum dollar limitation (e.g., 20% of the bid price
but the amount not to exceed _ _ _ _ _ dollars).

4. (a) Corporations executing the bond as sureties must appear on the Department of the Treasury's list of approved sureties and must act within the limitations
listed therein. The value put into the LIABILITY LIMIT block is the penal sum (i.e., the face value) of the bond, unless a co-surety arrangement is proposed.

   (b) When multiple corporate sureties are involved, their names and addresses shall appear in the spaces (Surety A, Surety B, etc.) headed "CORPORATE
SURETY(IES)." In the space designated "SURETY(IES)" on the face of the form, insert only the letter identifier corresponding to each of the sureties. Moreover,
when co-surety arrangements exist, the parties may allocate their respective limitations of liability under the bond, provided that the sum total of their liability
equals 100% of the bond penal sum.

  (c) When individual sureties are involved, a completed Affidavit of Individual Surety (Standard Form 28) for each individual surety, shall accompany the bond.
The Government may require the surety to furnish additional substantiating information concerning its financial capability.

5. Corporations executing the bond shall affix their corporate seals. Individuals shall execute the bond opposite the word "Corporate Seal"; and shall affix an
adhesive seal if executed in Maine, New Hampshire, or any other jurisdiction requiring adhesive seals.

6. Type the name and title of each person signing this bond in the space provided.

7. In its application to negoljated contracts, the terms "bid" and •bidder" shall include "proposal" and "otfE!ror."
                                                                                                               STANDARD FORM 24 (REV. 8/2016) BACK
                                                          2:21-cr-20014-CSB-EIL # 15                                  Page 3 of 13
                                                                           DATE BOND EXECUTED (Must not be later than bid opening
                               BID BOND                                    date)                                                               0MB Control Number: 9000-0045
                   (See instructions on reverse)                                             April   6,    2021                                Expiration Date: 8/31/2022
  Paperwork -Reduction Act Statement - This Information collection meets the requirements of 44 USC § 3507, as amended by section 2 of the Paperwork Reduction Act of
  1995. You do not need to answer these questions unless we display a valid Office of Management and Budget (0MB) control number. The 0MB control number for this collection is
  9000-0045. We estimate that it will take 1 hour to read the instructions, gather the facts, and answer the questions. Send only comments relating to our time estimate, including
  suggestions for reducing this burden, or any other aspects of this collection of information to: General Services Administration, Regulatory Secretariat Division (M1V1CB), 1800 F Street,
  NW, Washington , DC 20405.
  PRINCIPAL (Legal name and business address)                                                                                 TYPE OF ORGANIZATION         rx• orye)
   OSIRIS         AKHIR -97075                                                                                                (8]1NDIVIDUAL         •    PARTNERSHIP         •   JOINT VENTURE

   2310 East Mound Road~ TROD 58-O3-MACON COUNTY JAIL                                                                         OcoRPORATION OoTHER (Speedy)

   Decatur, Illinois 62524                                                                                                    STATE OF INCORPORATION
                                                                                                                              Illinois   I   112-94 615641
   SURETY(IES) (Name and business address)

    DEPOSITORY TRUST COMPANY C/0 OSIRIS AKHIR

    55 WATER STREET
    NEW YORK CITY, NEW YORK 10041-0099


                              PENAL SUM OF BOND                                                                                   BID IDENTIFICATION
 PERCENT                         AMOUNT NOT TO.EXCEED                             BID DATE
 OFBID
                                                                                                                         INVITATION NUMBER              MJ
                  MILLION(S)     THOUSAND(S)        HUNDRED(S)         CENTS                    03/24/2021                                         21        3035
 PRICE
                                                                                  FOR (Construction, Supplies or
                                                                                  Services)

  OBLIGATION:

  We, the Principal and Surety(ies) are firmly bound to the United States of America (hereinafter called the Government) in the above penal sum. For payment of the penal sum, we bind
  ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the Sureties are corporations acting as co-sureties, we, the Sureties, bind
  ourselves in such sum "jointly and severally" as well as "severally" only for the purpose of allowing a joint action or actions against any or all of us. For all other purposes, each Surety
  binds itself, jointly and severally with the Principal, for the payment of the sum shown opposite the name of the Surety. If no limit of1iability is indicated, the limit of liability is the full
  amount of the penal sum.

  CONDITIONS:

  The Principal has submitted the bid identified above.

  THEREFORE:

 The above obligation is void if the Principal - (a) upon acceptance by the Government of the bid identified above, within the period specified therein for acceptance (sixty (60) days if no
 period is specified), executes the further contractual documents and gives the bond(s) required by the terms of the bid as accepted within the time specified (ten (10) days if no period is
 specified) after receipt of the forms by the principal; or (b) in the event of failure to execute such further contractual documents and give such bonds, pays the Government for any cost
 of procuring the work which exceeds the amount of the bid.

 Each Surety executing this instrument agrees that its obligation is not impaired by any extension(s) of the time for acceptance of the bid that the Principal may grant to the Government.
 Notice to the surety(ies) of extension(s) is waived . However, waiver of the notice applies only to extensions aggregating not more than sixty (60) calendar days in addition to the period
 originally allowed for acceptance of the bid.

 WITNESS:

 The Principal and Surety(ies) executed this bid bond and affixed their seals on the above date.

                                                                                           PRINCIPAL
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   NAME(S)&              1.                                                2.                                               3.                                                        Seal
    TITLE(S)             Sharon-Renee-Lloyd: Al SPOA
        (Typed)

                                                                                 INDMDUAL SURETY(IES)

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                                                                                CORPORATE SURETY(IES)
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AUTHORIZED FOR LOCAL REPRODUCTION                                                                                                            STANDARD FORM 24 (REV. 8/2016)
Previous edition is NOT usable
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                                                  2:21-cr-20014-CSB-EIL # 15                           Page 4 of 13

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                                                                          INSTRUCTIONS

1. This form is authorized for use when a bid guaranty is required. Any deviation from this form will require the written approval of the Administrator of General
Services.

2. Insert the full legal name and business address of the Principal in the space designated "Principal" on the face of the form. An authorized person shall sign the
bond. Any person signing in a representative capacity (e.g., an attorney-in-fact) must furnish evidence of authority if that representative is not a member of the
firm, partnership, or joint venture, or an officer of the corporati.on involved.

3. The bond may express penal sum as a percentage of the bid price. In these cases, the bond may state a maximum dollar limitation (e.g., 20% of the bid price
but the amount not to exceed _ _ _ _ _ dollars).

4. (a) Corporations executing the bond as sureties must appear on the Department of the Treasury's list of approved sureties and must act within the limitations
listed therein. The value put into the LIABILITY LIMIT block is the penal sum (i.e., the face value) of the bond, unless a co-surety arrangement is proposed.

   (b) When multiple corporate sureties are involved, their names and addresses shall appear in the spaces (Surety A, Surety B, etc.) headed "CORPORATE
SURETY(IES)." In the space designated "SURETY(IES)" on the face of the form, insert only the letter identifier corresponding to each of the sureties. Moreover,
when co-surety arrangements exist, the parties may allocate their respective limitations of liability under the bond, provided that the sum total of their liability
equals 100% of the bond penal sum.

  (c) When individual sureties are involved, a completed Affidavit of Individual Surety (Standard Form 28) for each individual surety, shall accompany the bond.
The Government may require the surety to furnish additional substantiating information concerning its financial capability.

5. Corporations executing the bond shall affix their corporate seals. Individuals shall execute the bond opposite the word "Corporate Seal"; and shall affix an
adhesive seal if executed in Maine, New Hampshire, or any other jurisdiction requiring adhesive seals.

6. Type the name and title of each person signing this bond in the space provided.

7. In its application to negotiated contracts, the terms "bid" and "bidder" shall include "proposal" and "offeror."
                                                                                                               STANDARD FORM 24 (REV. 8/2016) BACK
                                                         2:21-cr-20014-CSB-EIL # 15                                   Page 5 of 13

                                                                                   ~!!fND EXECUTED (Must be same or later than date of              OMB Control Number: go00-0045
                    PERFORMANCE BOND
                    (See instructions on reverse)                                                                                                   Expiration Date: 8/31/2022
                                                                                   April 6, 2021
 Paperwork Reduction Act Statement - This information collection meets the requirements of 44 USC § 3507, as amended by section 2 of the Paperwork Reduction Act of
 1995. You do not need to answer these questions unless we display a valid Office of Management and Budget (0MB) control number. The 0MB control number for this collection is
 9000-0045. We estimate that it will take 1 hour to read the instructions, gather the facts, and answer the questions. Send only comments relating to our time estimate, including
 suggestions for reducing this burden, <ir any other aspects of this collection of information to: General Serv.ices Administration, Regulatory Secretariat Division (M1V1CB). 1800 F
 Street, NW, Washington, DC 20405.

 PRINCIPAL (Legal name and business address)                                                                               TYPE OF ORGANIZATION ("X" one)

  OSIRIS AKHIR - 97075                                                                                                     (81 INDIVIDUAL          •   PARTNERSHIP         •     JOINT VENTURE
  2310 Eat Mound Road- TROD 5B-03-MACON COUNTY JAIL                                                                        OcoRPORATION OoTHER (Specify)
  Decatur, Illinois 62524
                                                                                                                          STATE OF INCORPORATION
                                                                                                                           Illinois / 112-94 615641
 SURETY(IES) (Name(s) and business addtess(es))                                                                                                PENAL SUM OF BOND
                                                                                                                          MILLION(S)          I THOUSAND(S)          I HUNDRED(S)        ICENTS
  DEPOSITORY TRUST COMPANY
  C/O OSIRIS AKHIR                                                                                                        CONTRACT DATE                       CONTRACT NUMBER
  55 WATER STREET
                                                                                                                                                             CASE# 21MJ3035
  NEW YORK CITY, NEW YORK 10041-0099
                                                                                                                          03/24/2021

 OBLIGATION:

 We, the Principal and Surety(les), are firmly bound to the United States of America (hereinafter called the Government) in the above penal sum. For payment of the penal sum, we bind
 ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the Sureties are corporations acting as co-sureties, we, the Sureties, bind
 ourselves in such sum "jointly and severally" as well as "severally" only for the purpose of allowing a joint action or actions against any or all of us. For all other purposes, each Surety
 binds itself, jointly and severally With the Principal, for the payment of the sum shown opposite the name of the Surety. If no limit of liability is indicated, the limit of liability is the full
 amount of the penal sum.

 CONDITIONS:

 The Principal has entered into the contract identified above.

 THEREFORE :

 The above obligation is void if the Principal-

            (a) (1) Performs and fulfills all the understanding, covenants, terms, conditions, and agreements of the contract during the original term of the contract and any extensions
thereof that are granted by the Government, with or without notice of the Surety(ies) and during the life cif any guaranty required under the contract, and

             (2) Performs and fulfills all the undertakings, covenants, terms, conditions, and agreements of any and all duly authorized modifications of the contract that hereafter are
made. Notice of those modifications to the Surety(ies) are waived.

            (b)    Pays to the Government the full amount of the taxes imposed bY the Government, if the said contract is subject to 41 USC Chapter 31, Subchapter Ill, Bonds, which
are collected, deducted, or withheld from wages paid by the Principal in carrying out the construction contract with respect to which this bond is furnished.

WITNESS:

The Principal and Surety(ies) executed this performance bond and affixed their seals on the above date.


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                                                                                                                                                                                   Corporate
                           1. Sharon-Renee-Lloyd: Al as SPOA for              2.                                                3.
NAME(S)&                                                                                                                                                                             Seal
 TlrLE(S)                     Osiris-Ahmad: Akhir Beneficiary
 (Typed)

                                                                                   INDIVIDUAL SURETY(IES)
                                                                                                    2.
 SIGNATURE(S)
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                           1. Sharon-Renee-Lloyd: Al as SPOA for Osiris-Ahmad: Akhir Beneficiary               2.
NAME(S)
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AUTHORIZED FOR LOCAL REPRODUCTION                                                                                                          STANDARD FORM 25 (REV- 8/2016)
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                                                        2:21-cr-20014-CSB-EIL # 15                                 Page 6 of 13

                                                                        CORPORATE SURETY(IES) (Continued)
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                                                                      RATE PER THOUSAND ($)                                TOTAL($)
                                        BOND
                                        PREMIUM

                                                                                   INSTRUCTIONS
1. This form is authorized for use In connection with Government contracts. Any deviation from this form will require the written approval of the Administrator of General Services.

2. Insert the full legal name and business address of the Principal in the space designated "Principal" on the face of the form . An authorized person shall sign the bond. Any person
signing in a representative capacity (e.g., an attorney-in-fact) must furnish evidence of authority if that representative is not a member of the firm, partnership, or joint venture, or an
officer of the corporation involved.

3. (a) Corporations executing the bond as sureties must appear on the Department of the Treasury's list of approved sureties and must act within the llmitallons listed therein. The
value put into the LIABILITY LIMIT block is the penal sum (i.e., the face value) of bonds, unless a co-surety arrangement is proposed .

   (b) When multiple corporate sureties are involved, their names and addresses shall appear in the spaces (Surety A, Surety B, etc.) headed "CORPORATE SURETY(IES)." In the
space designated "SURETY(IES)" on the face of the form, insert only the letter identifier corresponding to each of the sureties. Moreover, when co-surety arrangements exist, the
parties may allocate their respective limitations of liability under the bonds, provided that the sum total of their liability equals 100% of the bond penal sum.

   (c) When individual sureties are involved, a completed Affidavit of Individual Surety (Standard Form 28) for each individual surety shall accompany the bond. The government may
require the surety to furnish additional substantiating information concerning its financial capability.

4 . Corporations executing the bond shall affix their corporate seals. Individuals shall execute the bond opposite the words "Corporate Seal", and shall affix an adhesive seal if executed
In Maine, New Hampshire, or any other jurisdiction requiring adhesive seals.

5. Type the name and title of each person signing this bond in the space provided .




                                                                                                                             STANDARD FORM 25 (REV. 8/2016) BACK
                                                    2:21-cr-20014-CSB-EIL # 15                                 Page 7 of 13

                     PAYMENT BOND                                ~:';!fND EXECUTED (Must be same or tater than date of           OMB Control Number: 9000-0045
              (See instructions on reverse)                       04/06/2021                                                     Expiration Date: 8/31/2022
  Paperwork Reduction Act Statement. This information collecuon meets the requirements of 44 USC§ 3507, as amended by section 2 of the Paperworl< Reduction Act of
  1995. You do not need to answer these questions unless we display a valid Office of Management and Budget (0MB) control number. The 0MB control number for this collection is
  9000-0045. We estimate that it will take 1 hour to read the instructions, gather the facts, and answer the questions. Send only comments relating to our time estimate, including
  suggestions for reducing this burden, or any other aspects of this collection of information to: General Services Administration, Regulatory Secretariat Division (M1V1CB), 1800 F
  Street, NW. Washington, DC 20405.
  PRINCIPAL (Legal name and business address)                                                                      TYPE OF ORGANIZATION ("X" one)

  OSIRIS AKHIR - 97075                                                                                             [8]1NDIVIDUAL        •   PARTNERSHIP      •   JOINT VENTURE
  2310 East Mound Road -TROD 58-03-MACON COUNTY JAIL                                                               OcoRPORATION OoTHER (Specify)
  Decatur, illinois 62524
                                                                                                                   STATE OF INCORPORATION
                                                                                                                   Illinois / 112-94 615641
 SURETY(IES) (Name(s) and business address(es))                                                                                       PENAL SUM OF BOND
  DEPOSITORY TRUST COMPANY                                                                                         MILLION(S)     I
                                                                                                                                  THOUSAND($) HUNDRED($)          ICENTS

  C/0 OSIRIS AKHIR
  55 WATER STREET                                                                                                  CONTRACT DATE            CONTRACT NUMBER
  NEW YORK CITY, NEW YORK 10041-0099
                                                                                                                                            CASE# 21MJ3035
                                                                                                                   03/24/2021




 OBLIGATION:

 We, the Principal and Surety(ies), are firmly bound to the United States of America (hereinafter called the Government) in the above penal
 sum. For payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However,
 where the Sureties are corporations acting as co-sureties, we, the Sureties, bind ourselves in such sum "jointly and severally" as well as
 "severally" only for the purpose of allowing a joint action or actions against any or all of us. For all other purposes, each Surety binds itself,
 jointly and severally with the Principal , for the payment of the sum shown opposite the name of the Surety. If no limit is indicated, the limit of
 liability is the full amount of the penal sum.

 CONDITIONS:

The above obligation is void if the Principal promptly makes payment to all persons having a direct relationship with the Principal or a
subcontractor of the Principal for furnishing labor, material or both in the prosecutioh of the work provided for in the contract identified above,
and any authorized modifications of the contract that subsequently are made. Notice of those modifications to the Surety(ies) are waived.

WITNESS:

The Principal and Surety(ies) executed this payment bond and affixed their seals on the above date.




                                                                                  PRINCIPAL

SIGNATURE(S)
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                                                            ,
                                                                 2.                                           3.




NAME(S)&
TITLE(S)
                            ""'                         (Seal)

                       1. Sbaron-Renee--LJoyd: Al as SPOA for
                          Osir1s---Ahmad: Akhir Beneficiary
                                                                 2.
                                                                                                     (Seal)
                                                                                                              3.
                                                                                                                                             (Seal)          Corporate
                                                                                                                                                                 Seal

(Typed)

                                                                        INDIVIDUAL SURETYllES'
                       1                                                                        2.
SIGNATURE(S)
                        ·   '5n03't>n -~ec- Ll o~ d\                      A\           (Seal)                                                                              (Seal)
NAME(S)                1. Sharon-Renee-Uoyd: Al as SPOA for Osiris-Ahmad: Akhir                 2.
(Typed)                   Beneficiary
                                                                       CORPORATESURETY(IES)
          NAME&                                                                                 STATE OF INCORPORATION            ,~!ABILITY LIMIT
<        ADDRESS

~       SIGNATURE(S)
                       1.                                                                       2.                                                           Corporate
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rJ)                    1.                                                                       2.
          TITLE(S)
           (Typed)
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                                                2:21-cr-20014-CSB-EIL # 15                         Page 8 of 13



                                                           CORPORATE SORETY(IES) (Continued)
            NAME&                                                                        STATE OF INCORPORATION         ,~IABIUlY LIMIT
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            TITLE( )
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            NAME&                                                                        STATE OF INCORPORATION         ,~!ABILITY LIMIT
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            (Typed)
            NAME&                                                                       STATE OF INCORPORATION          ,~IABILITY LIMIT
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           NAME&                                                                        STATE OF INCORPORATION
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 (!)      ADDRESS

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0:::                                                                                                                                               Seal
::>       NAMEJSJ&      1.                                                              2.
en         TITL ( J
            (Typed)

                                                                        INSTRUCTIONS

1. This form, fat the protection of persons supplying labor and material, Is used when a payment bond is required under 40 USC Chapter 31 , Subchapter Ill,
Bonds. Any deviation from this form will require the written approval of the Administrator of General Services.

2. Insert the full legal name and business address of the Principal in the space designated "Principal" on the face of the form. An authorized person shall sign the
bond. Any person signing in a representative capacity (e.g., an attorney-in-fact) must furnish evidence of authority if that representative is not a member of the
firm, partnership, or joint venture, or an officer of the corporation involved.

3. (a) Corporations executing the bond as sureties must appear on the Department of the Treasury's list of approved sureties and must act within the limitations
listed therein. Th~ value put into the LIABILITY LIMIT block is the penal sum (i.e., the face value) of the bond, unless a co-surety arrangement is proposed.

   (b) When multiple corporate sureties are involved, their names and addresses shall appear in the spaces (Surety A, Surety B, etc.) headed "CORPORATE
SURETY(IES)." In the space designated "SURETY(IES)" on th_e face of the form, insert only the letter identifier corresponding to each of the sureties. Moreover,
when co-surety arrangements exist, the parties may allocate their respective limitations of liability under the bonds, provided that the sum total of their liability
equals 100% of the bond penal sum.

  (c) When individual sureties are involved, a completed Affidavit of Individual Surety (Standard Form 28) for each individual surety shall accompany the bond.
The Government may require the surety to furnish additional substantiating information concerning its financial capability.

4. Corporations executing the bond shall affix their corporate seals. Individuals shall execute the bond opposite the words "Corporate Seal", and shall affix an
adhesive seal if executed in Maine, New Hampshire, or any other jurisdiction requiring adhesive seals.

5. Type the name and title of each per-59n signing this bond in the space provided.



                                                                                                         STANDARD FORM 25A (REV. 8/2016) BACK
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                             AFFIDAVIT OF INDIVIDUAL SURETY                                                           0MB Control Number: 9000-0001
                                         See instructions on reverse                                                  Expiration Date: 3/31/2024
 Paperwork Reduction Act Statement - This information collection meets the requirements of 44 USC § 3507, as amended by section 2 of the Paperwor1<
 Reduction Act of 1995. You do not need to answer these questions unless we display a valid Office of Management and Budget (0MB) control number. The
 0MB control number for this collection is 9000-0001 . We estimate that it will take 0.3 hours to read the instructions, gather the facts, and answer the questions.
 Send only comments relating to our time estimate, including suggestions for reducing this burden, or any other aspects of this collection of information to: U.S.
 General Services Administration, Regulatory Secretariat Division (MW1CB), 1800 F Street, NW, Washington, DC 20405.
 STATE OF
 ILLINOIS
                                                                                 I COUNTY OF
                                                                                  . COOK
                                                                                                                                                                I55.
 I, the undersigned, being duly sworn, depose and say that I am: (1) the surety to the attached bond(s); (2) a citizen of the United States; and of full age and
 legally competent. Where the sureties are acting as co-sureties, we, the Sureties, bind ourselves in such sum "jointly and severally" as well as "severally" only
 for the purpose of allowing a joint action or actions against any or all of us. For all other purposes, each Surety binds itself, jointly and severally with the
 Principal. I recognize that statements contained herein concern a matter within the jurisdiction of an agency of the United States and the making of a false,
 fictitious or fraudulent statement may render the maker subject to prosecution under Title 18, United States Code Sections 1001 and 494. This affidavit is made
 to induce the United States of America to accept me as surety on the attached bond.
 1. NAME                                                                             2A. HOME ADDRESS
     (First, Middle, Last) (Type or Print)                                                (Number, Street, City, State, ZIP Code)
 OSIRIS AHMAD AKHIR                                                               2310 East Mound Road -TROD                                  ""
                                                                                                                            5B-03-MACCal COUNTY
 3. TYPE AND DURATION OF OCCUPATION                                               JAIL, Decatur Illinois 62524
 SURETY/ LIFETIME
                                                                                  2B. TELEPHONE NUMBER                    2C. EMAIL ADDRESS
                                                                                  N/A                                      N/A
4A. NAME AND ADDRESS OF EMPLOYER                                                  SA. NAME AND ADDRESS OF INDIVIDUAL SURETY BROKER USED
    (Number, Street, City, State, ZIP Code) (If self-employed, so state)              (Number, Street, City, State, ZIP Code)

 DEPOSITORY TRUST COMPANY                                                         DEPOSITORY TRUST COMPANY
 C/O OSIRIS AKHIR                                                                 C/O OSIRIS AKHIR
 55 WATER STREET                                                                  55 WATER STREET
 NEW YORK CITY, NEW YORK 10041-0099                                               NEW YORK CITY, NEW YORK 10041-0099
                                                                                 SB. SURETY BROKER EMAIL ADDRESS
                                                                                  N/A
4B. EMPLOYER EMAIL ADDRESS                                                       SC. HOME TELEPHONE NUMBER                SD. BUSINESS TELEPHONE NUMBER
 N/A                                                                              N/A                                     N/A
6A. NAME AND ADDRESS OF FINANCIAL INSTITUTION SUBMITTING                         6B. FINANCIAL INSTITUTION                6C. ROUTING TRANSIT NUMBER (RTN)
    THE PLEDGE OF SECURITIES ON BEHALF OF INDIVIDUAL SURETY                          EMAIL ADDRESS
    (Number, Street, City, State, ZIP Code)                                       N/A                                     N/A
DEPOSITORY TRUST COMPANY                                                         6D. CONTACT PERSON NAME                  6E. CONTACT PERSON TELEPHONE
                                                                                                                              NUMBER
C/O OSIRIS AKHIR                                                                  N/A                                     N/A
55 WATER STREET                                                                  6F. CONTACT PERSON EMAIL ADDRESS
NEW YORK CITY, NEW YORK 10041-0099
                                                                                  N/A
7. THE FOLLOWING IS A TRUE REPRESENTATION OF THE ASSETS I HAVE PLEDGED TO THE UNITED STATES IN SUPPORT OF THE ATTACHED
   BOND. (LIST THE COMMITTEE ON UNIFORM SECURITIES /DENT/FICA TION PROCEDURES (CUSIP) NUMBER AND PAR (FACE) AMOUNT OF
   EACH SECURITY).

GSA: SF24 BID BOND
GSA: SF25PERFORMANCEBOND
GSA: SF25A PAYMENT BOND




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  8. IDENTIFY ALL LIENS, JUDGEMENTS, OR ANY OTHER ENCUMBRANCES INVOLVING SUBJECT ASSETS.

  CASE# 21 MJ3035




 9. IDENTIFY ALL BONDS, INCLUDING BID GUARANTEES, FOR WHICH THE SUBJECT ASSETS HAVE BEEN PLEDGED WITHIN THREE YEARS PRIOR
    TO THE DATE OF EXECUTION OF THIS AFFIDAVIT.

 NIA




                                                                                                                                ·-0"' .,~
                                 DOCUMENTATION OF THE PLEDGED ASSET MUST BE ATTACHED.
 10. SIGNATUR( I / .              \ -   •                   11. BOND AND CONTRACT TO WHICH THIS AFFIDAVIT RELATES (where ap

0.~n- ·~-e.-e- ll.!ll.\ J\ A-\                              GSA: sF24. sF2s. sF2sA. & 0F•q 1

                           12. SUBSCRIBED AND SWORN TO BEFORE ME AS FOLLOWS:
         a.   DATE OATH ADMINISTERED                CITY AND STATE (or other jurisdiction)
  ---,--------,--------,-~-,---- b.
    ~         ~TH         b AY

c. NAME AND TITLE OF OFFICIAL ADMINISTERING                                                            e. MY COMMISSION
   OATH (type or print)                                                                                  EXPIRES


  r~n          j                                                                                       J,'/ '):b/P 1
                                                                                             S ANDARD FORM 28 (REV. 2/2021) PAGE 2
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                     RELEASE OF PERSONAL PROPERTY FROM ESCROW


Whereas OSIRIS AKHIR                    , of      Illinois/ 112-94 615641           , by a bond
                        (Name)                         (Place of Residence)
for the performance of U.S. Government Contract Number                    328906300
became a surety for the complete and successful .performance of said contract, and Whereas said
surety has placed certain personal property in escrow

         in Account Number
                                - - - - - CASE#
                                          - - -21MJ3035
                                                - - - - - - - - - - on deposit
         at   UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF ILLINOIS, URBANA
                                  (Name ·of Financial Institution)


located at         218 U.S. COURTHOUSE 201 S. Vine Street, Urbana Illinois 61802                              , and
                               (Address of Financial Institution)

Whereas I,      Sharon-Renee-Lloyd: Al as SPOA for Osiris-Ahmad: Akhir           , being a duly authorized

representative of the United States government as a warranted contracting officer, have determined
that retention in escrow of the following property is no longer required to ensure further performance
of the said Government contract or satisfaction of claims arising therefrom:
      CASE# 21MJ3035




and
Whereas the surety remains liable to the United States Government for the continued performance of
the said Government contract and satisfaction of claims pertaining thereto.
Now, therefore, this agreement witnesseth that the Government hereby releases from escrow the
property listed above, and directs the custodian of the aforementioned escrow account to deliver the
listed property to the surety. If the listed property comprises the whole of the property placed in
escrow in the aforementioned escrow account, the Government further directs the custodian to close
the account and to return all property therein to the surety, along with any interest accruing which
remains after the deduction of any fees lawfully owed to
 UNITED STATES DISTRICT COURT CENTRAL DIST OF IL URBANA
             (Name of Financial Institution)



 04/06/2021                                                     6h..o.ron-Ke.(le.-e-Ll 0 ~cf,                         Al
[Date]                                                 [Signature]

                                                            Seal



                                                                         OPTIONAL FORM 91 (1-90)
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                              UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS, URBANA

UNITED STATES OF AMERICA
        Plaintiff
                                                      Case No. 21MJ3035
V.

OSIRIS AKHIR                                       Presiding Judicial/Administrator
         Respondent

                         NOTICE OF FILING TERMINATION LETTER


To: UNITED STATES OF AMERJCA CORPORATION

Please take notice that Sharon-Renee-Lloyd: Al as Specific Power of Attorney-in-fact for Osiris-Ahmad:
Akhir is filing regarding OSIRIS AKHIR the beneficiary who is not able to file for himself. This
NOTICE and TERMINATION LETTER is being filed on April _jg_, 2021 in the CLERK'S OFFICE. A
copy of this filing will be hand delivered directly after the filing.


Submitted By:6hoJ1Di) -        ~ene~ .. L\ta-'-td ~        ~
               Specific Power of Attorney-in-Fact UCCl-308

Sharon-Renee-Lloyd: Al
Specific Power of Attorney-in-Fact
4642 S. Bishop Street, Unit 9534
Chicago, Illinois-Territory [60609)
c/o Osiris-Ahmad: Akhir
c/o OSIRIS AKHIR - 97075
c/o 2310 East Mound Road - TROD 5B-03-MACON COUNTY JAIL
Decatur, Illinois-Territory [62524)
Real Land North America
                                         2:21-cr-20014-CSB-EIL # 15                     Page 13 of 13


                                 OSIRIS AKHIR
                            REVOCABLE LIVING TRUST
                              TERMINATION LETTER
  UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF ILLINOIS, URBANA & UNITED STA TES OF AMERICA
                                         CORPORATION

)ate:   A()Y) \    U2 I 2D '2.. l
JNITED STATES DISTRICT COURT CENTRAL DISTRICT OF ILLINOIS, URBANA
~ UNITED STATES OF AMERICA CORPORATION
:lo OSIRIS AKIIlR I 97075
'.18 U.S. COURTHOUSE I 201 S. VINE STREET
JRBANA ILLINOIS 61802

te: 21MJ3035 / Letter oflntent


)ear UNITED STA TE DISTRICT COURT CENTRAL DISTRICT OF ILLINOIS, URBANA, UNITED STA TES OF AMERICA
~ORPORA TION and All non-contracted agents,

 submit this REVOCABLE TRUST TERMINATION LETTER to notify UNITED STATES DISTRICT COURT CENTRAL
>ISTRICT OF ILLINOIS, URBANA & UNITED STA TES OF AMERICA CORPORATION of Osiris-Ahmad: Akhir beneficiary
if the trust OSIRIS AKHIR at this time rescind all signatures and will be exercising the right to full faith and credit in this matter. If
·our agencies or agents continue with this constructive trust this Trust intent is to submit a formal complaint with the UNITED
:TATES SUPREME COURT for constitutional violations which adds up to treason and genocide charges. If a formal complaint is
iled from this trust, the maximum punishment is the debt to be paid for the harm caused in this matter. Some of the chargers that
vill be filed is attached to this Lawful Communication. This case/account has been bonded by the individual surety and the IRS
>MB forms are to follow when they arrive from the DEPARTMENT OF TREASURY INTERNAL REVENUE SERVICES.

,ovem yourself accordingly.

baron-Renee-Lloyd: Al is going to be the point of contact on behalf of the beneficiary Osiris-Ahmad: Akhir:

,baron-Renee-Lloyd: Al SPOA
lo Osiris-Ahmad: Akhir Beneficiary
lo 4642 S. Bishop Street, Unit 9534
:bicago, Illinois-Territory [60609)
12-852-1764

hanks for your time and attention. I am looking forward to a speedy remedy.

incerely,

.utograph of Authorized Representative    s~Y1)f'i- ~-e'l"'re.:e.- l~o.':Id '. -/+Ji
d  Q-11),/~.V
~:tur17~                                               Commission Date        /2~-vz..- z.n/
                                                                                                        T
                                                                KEVIN J MUHAMMAD
                                                                   OFFICIAL SEAL
                                                              Notary Public, State of Illinois
                                                                My Comm i ssion Ex-pires
                                                  •           .     August22, 2021
